 Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 1 of 39. PageID #: 16224



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                   MDL No. 2804
OPIATE LITIGATION
                                              Case No. 17-md-2804
This document relates to:
The State of Alabama v. Purdue Pharma L.P.,   Hon. Dan Aaron Polster
No. 1:18-op-45236-DAP




MEMORANDUM OF LAW IN SUPPORT OF THE MANUFACTURER DEFENDANTS’
  JOINT MOTION TO DISMISS THE STATE OF ALABAMA’S FIRST AMENDED
                           COMPLAINT
     Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 2 of 39. PageID #: 16225



                                                    TABLE OF CONTENTS
                                                                                                                                             Page

TABLE OF AUTHORITIES ......................................................................................................... iii
INTRODUCTION AND SUMMARY OF ISSUES AND ARGUMENT ......................................1
LEGAL STANDARD ......................................................................................................................2
ARGUMENT ...................................................................................................................................2
I.        THE STATE’S CLAIMS FOR DAMAGES FAIL FOR SEVERAL REASONS ..............2
          A.         The Derivative-Injury Rule Bars the Claims ...........................................................2
          B.         The State Has Failed to Plead Actual Causation .....................................................4
          C.         The State Cannot Establish Proximate Causation ....................................................6
II.       THE STATE’S DRUG-LAW CLAIMS (COUNTS III & IV) FAIL ..................................8
          A.         The State Has Not Pled a Violation of Federal or State Controlled
                     Substances Acts by the Manufacturer Defendants...................................................8
          B.         The Controlled Substances Acts Do Not Give the State a Right to the
                     Relief It Seeks ........................................................................................................10
          C.         The State Pleads No Violation of the Drug-Related Nuisance Statute
                     Because That Statute Covers Only Drug-Related Activity at Specific Real
                     Property ..................................................................................................................12
III.      THE STATE’S CLAIM UNDER THE ALABAMA DECEPTIVE TRADE
          PRACTICES ACT (COUNT II) FAILS ...........................................................................13
          A.         The State is Not a “Consumer” That Can Recover Damages Under the
                     ADTPA ..................................................................................................................13
          B.         The State Fails To Plead any False or Misleading Statements with
                     Particularity ............................................................................................................14
          C.         The State Has Failed To Plead an “Unconscionable Act” .....................................15
IV.       THE STATE’S STATUTORY PUBLIC NUISANCE CLAIM (COUNT I) FAILS ........15
V.        THE STATE’S COMMON LAW CLAIMS FAIL FOR ADDITIONAL CLAIM-
          SPECIFIC REASONS .......................................................................................................17
          A.         The State’s Negligence Claim (Count V) Fails .....................................................17
          B.         Alabama’s Wantonness Claim (Count VII) Fails ..................................................19
          C.         The State’s Federal Common Law Unjust Enrichment Claim (Count VI)
                     Fails ........................................................................................................................19
VI.       THE STATE’S CLAIMS FOR MONETARY RELIEF ARE ENTIRELY OR
          PREDOMINATELY BARRED BY THE APPLICABLE STATUTES OF
          LIMITATIONS ..................................................................................................................20




                                                                        i
  Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 3 of 39. PageID #: 16226



          A.         The State Cannot Recover Damages or Restitution Relating to Any
                     Individual’s Opioid Use Beginning Before February 6, 2016 ...............................21
          B.         The State’s ADTPA Claim for Civil Penalties Is Time Barred .............................25
CONCLUSION ..............................................................................................................................26




                                                                    ii
  Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 4 of 39. PageID #: 16227




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)


Cases

Alabama Power Co. v. Gielle,
   373 So. 2d 851 (Ala. Civ. App. 1979) .....................................................................................25

Auburn Univ. v. Int’l Bus. Mach., Corp.,
   716 F. Supp. 2d 1114 (M.D. Ala. 2010) ..................................................................................21

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) ...........................................................................................................2, 4, 9

Bennett v. Nationstar Mortgage, LLC,
   No. 15-cv-165-KD-C, 2015 WL 5294321 (S.D. Ala. Sept. 8, 2015) ......................................18

In re Bextra & Celebrex Mktg. Sales Practices & Prod. Liab. Litig.,
    2012 WL 3154957 (N.D. Cal. Aug. 2, 2012) ............................................................................5

In re Bextra and Celebrex Marketing Sales Practices and Prod. Liab. Litig.,
    495 F. Supp. 2d 1027 (N.D. Cal. 2007) ...................................................................................14

Booker v. United Am. Ins. Co.,
   700 So.2d 1333 (Ala. 1997) .....................................................................................................21

Boyce v. Cassese,
   941 So. 2d 932 (Ala. 2006) ......................................................................................................21

Boyle & Co., Inc. v. Fasano,
   No. 5:03cv47-V, 2006 WL 572183 (W.D.N.C. Mar. 3, 2006) ................................................21

Ex parte Brian Nelson Excavating, LLC,
   25 So. 3d 1143, No. 1071473, 2009 WL 1643351 (Ala. June 12, 2009) ................................21

Ex parte Capstone Bldg. Corp.,
   96 So.3d 77 (Ala. 2012) ...........................................................................................................21

City of Birmingham v. Crow,
    101 So. 2d 264 (Ala. 1958) ........................................................................................................2

City of Chi. v. Purdue Pharma L.P.,
    211 F. Supp. 3d 1058, 1079-84 (N.D. Ill. 2016) ........................................................................6

City of Chi. v. Purdue Pharma, L.P.,
    No. 14-C-4361, 2015 WL 2208423 (N.D. Ill. May 8, 2015) .....................................................5


                                                                   iii
  Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 5 of 39. PageID #: 16228



City of Chicago v. Beretta,
    821 N.E. 2d 1099 (Ill. 2004) ..............................................................................................16, 17

City of Miami v. Bank of Am. Corp.,
    800 F.3d 1262 (11th Cir. 2015) ...............................................................................................20

City of Miami v. Bank of Am. Corp.,
    137 S. Ct. 1296 (2017) .............................................................................................................20

City of Oakland v. BP P.L.C.,
    No. C17-06011, 2018 WL 3109726 (N.D. Cal. June 25, 2018) ..............................................16

City of San Francisco v. Philip Morris, Inc.,
    957 F. Supp. 1130 (N.D. Cal. 1997) ..........................................................................................3

Colonial BancGroup, Inc. v. PricewaterhouseCoopers, LLP,
   No. 2:11-cv-746-WKW, 2014 WL 4444148 (M.D. Ala. Sept. 9, 2014) ...................................8

Colonial Bank v. Ridley & Schweighert,
   551 So. 2d 391 (Ala. 1989) ......................................................................................................18

Commodity Futures Trading Comm’n v. Wilshire Inv. Mgmt. Corp.,
  531 F.3d 1339 (11th Cir. 2008) ...............................................................................................20

Cooper v. Bristol-Myers Squibb Co.,
   No. 07-cv-885, 2009 WL 5206130 (D.N.J. Dec. 30, 2009).....................................................14

Craft v. Triumph Logistics, Inc.,
   107 F. Supp. 3d 1218, 1221 (M.D. Ala. 2015) ........................................................................19

DGB, LLC v. Hinds,
  55 So. 3d 218 (Ala. 2010) ........................................................................................................23

DiBiasi v. Joe Wheeler Elec. Membership Corp.,
   988 So. 2d 454 (Ala. 2008) ......................................................................................................17

Doe v. Fulton-Dekalb Hosp. Authority,
   628 F.3d 1325 (11th Cir. 2010) ...............................................................................................18

Durr v. Strickland,
   602 F.3d 788 (6th Cir. 2010) ...................................................................................................19

Ex parte Essary,
   992 So. 2d 5 (Ala. 2007) ..........................................................................................................19

Flint City Nursing Home, Inc. v. Depreast,
    406 So. 2d 356 (Ala. 1981) ......................................................................................................19




                                                                   iv
  Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 6 of 39. PageID #: 16229



In re Ford Motor Co. E-350 Van Prods. Liab. Litig. (No. II),
    Civ. No. 03-4558 (HAA), MDL No. 1687, 2008 WL 4126264 (D.N.J. Sept. 2,
    2008) ........................................................................................................................................14

Gen. Motors Corp. v. Edwards,
   482 So. 2d 1176 (Ala. 1985), .....................................................................................................7

Holdbrooks v. Central Bank of Ala., N.A.,
   435 So. 2d 1250 (Ala. 1983) ....................................................................................................23

Holmes v. Behr Process Corp.,
   No. 2:15-cv-0454, 2015 WL 7252662 (N.D. Ala. Nov. 17, 2015) ....................................14, 26

Kentucky Laborers Dist. Council v. Hill & Knowlton, Inc.,
   24 F. Supp. 2d 755 (W.D. Ky. 1998) .........................................................................................3

Lady Corinne Trawlers, Inc. v. Zurich Ins. Co.,
   507 So. 2d 915 (Ala. 1987) ........................................................................................................2

Moon v. Harco Drugs, Inc.,
  435 So. 2d 218 (Ala. 1983) ..........................................................................................21, 22, 25

Morgan v. City of Tuscaloosa,
  108 So. 2d 342 (Ala. 1959) ........................................................................................................8

Morguson v. 3M Co.,
  857 So. 2d 796 (Ala. 2003) ........................................................................................................6

Moye v. A.G. Gaston Motels, Inc.,
  499 So. 2d 1368 (Ala. 1986) ......................................................................................................8

Mut. Pharm. Co. v. Bartlett,
   570 U.S. 472 (2013) ...................................................................................................................6

Papastefan v. B & L Const. Co., Inc. of Mobile,
   385 So. 2d 966 (Ala. 1980) ......................................................................................................24

Parker Bldg. Servs. Co., Inc. v. Lightsey ex rel. Lightsey,
   925 So. 2d 927 (Ala. 2005) ......................................................................................................18

Perry v. Am. Tobacco Co.,
   324 F.3d 845 (6th Cir. 2003) .....................................................................................................3

Radcliff v. Tate & Lyle Sucralose, Inc.,
   No. 06-0345-CG-M, 2008 WL 3843446 (S.D. Ala. Aug. 14, 2008) .......................................25

Reid v. Unilever U.S., Inc.,
   964 F. Supp. 2d 893 (N.D. Ill. 2013) .......................................................................................14



                                                                         v
  Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 7 of 39. PageID #: 16230



In re Russell,
    181 B.R. 616 (M.D. Ala. 1995) ...............................................................................................15

S. Pac. Co. v. Darnell-Taenzer Lumber Co.,
    245 U.S. 531 (1918) ...................................................................................................................3

S.S. Silberblatt, Inc. v. E. Harlem Pilot Block-Building 1 Hous. Dev. Fund Co.,
    Inc., 608 F.2d 28 (2d Cir. 1979) ..............................................................................................20

Safe Sts. Alliance v. Alternative Holistic Healing, LLC,
   No. 1:15-cv-00349-REB-CBS, 2016 WL 223815 (D. Colo. Jan. 19, 2016) ...........................19

Safe Sts. Alliance v. Alternative Holistic Healing, LLC,
   859 F.3d 865 (10th Cir. 2017) .................................................................................................19

Sellers v. A.H. Robins Co., Inc.,
    715 F.2d 1559 (11th Cir. 1983) .........................................................................................23, 24

Schwartz v. Volvo N. Am. Corp.,
   554 So. 2d 972 (Ala. 1989) .......................................................................................................7

Seybold v. Magnolia Land Co.,
   376 So. 2d 1083 (Ala. 1979) ....................................................................................................23

Siegelman v. Ala. Ass’n of School Bds.,
    819 So. 2d 568 (Ala. 2001) ......................................................................................................12

Spain v. Brown & Williamson Tobacco Corp.,
   872 So. 2d 101 (Ala. 2003) ......................................................................................................25

Springhill Hosps., Inc. v. Larrimore,
   5 So. 3d 513 (Ala. 2008) ............................................................................................................7

State v. Lead Indus. Ass’n, Inc.,
    951 A.2d 428 (R.I. 2008) .........................................................................................................16

Steamfitters Local Union No. 420 Welfare Fund v. Philip Morris, Inc.,
    171 F.3d 912 (3d Cir.1999)........................................................................................................4

Stone v. Smith, Kline & French Labs.,
   447 So. 2d 1301 (Ala. 1984) ......................................................................................................7

Strayhorn v. Wyeth Pharm., Inc.,
    737 F.3d 378 (6th Cir. 2013) .....................................................................................................6

Tipler v. McKenzie Tank Lines
    547 So. 2d 438, 441 (Ala. 1989) ........................................................................................16, 17




                                                                    vi
  Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 8 of 39. PageID #: 16231



Travis v. Ziter,
   681 So. 2d 1348 (Ala. 1996) ....................................................................................................21

U.S. v. Dekalb County,
   729 F.2d 738 (11th Cir. 1984) .................................................................................................19

United Food & Commercial Workers Unions, Employers Health & Welfare Fund
   v. Philip Morris, Inc.,
   223 F.3d 1271 (11th Cir. 2000) .............................................................................................3, 4

Waldrup v. Hartford Life Ins. Co.,
   598 F. Supp. 2d 1219 (N.D. Ala. 2008) ...................................................................................23

Weaver v. Firestone,
  155 So. 3d 952 (Ala. 2013) ......................................................................................................23

Winberry v. United Collection Bureau, Inc.,
   697 F. Supp. 2d 1279 (M.D. Ala. 2010) ..................................................................................18

Statutes

21 U.S.C. § 355(d) ...........................................................................................................................6

21 U.S.C. §§ 822, 823(a), (b) & (f)..................................................................................................9

21 U.S.C. § 824 ..............................................................................................................................11

21 U.S.C. § 853 ..............................................................................................................................11

Ala. Code § 6-2-38(l) .....................................................................................................................21

Ala. Code § 6-5-121 .......................................................................................................................16

Ala. Code § 6-5-155(3) ..................................................................................................................12

Ala. Code §§ 6-5-155 et seq. .....................................................................................................8, 12

Ala. Code § 6-5-155.3(a) ...............................................................................................................12

Ala. Code § 6-5-155.3(b) ...............................................................................................................13

Ala. Code § 6-5-155.3(c) ...............................................................................................................12

Ala. Code § 6-5-155.6 ....................................................................................................................13

Ala. Code § 6-5-155.7 ....................................................................................................................12

Ala. Code § 6-5-156.3(d) ...............................................................................................................12



                                                                      vii
  Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 9 of 39. PageID #: 16232



Ala. Code §§ 8-19-3(2) ..................................................................................................................14

Ala. Code. §§ 8-19-5(2), (5), (7), and (9) ......................................................................................15

Ala. Code § 8-19-5(27) ..................................................................................................................15

Ala. Code §§ 8-19-10(a)(1) & (2) ..................................................................................................13

Ala. Code § 8-19-10(e) ..................................................................................................................15

Ala. Code § 8-19-14 .......................................................................................................................26

Ala. Code § 13A-12-212 ................................................................................................................17

Ala. Code §§ 20-2-51(a), 20-2-58(a) .............................................................................................10

Ala. Code § 20-2-52(a)(1)..............................................................................................................11

Ala. Code §§ 20-2-53, 20-2-54 ......................................................................................................11

Ala. Code §§ 20-2-71, 20-2-72 ......................................................................................................11

Ala. Code § 20-2-92 .......................................................................................................................11

Ala. Code § 20-2-93 .......................................................................................................................11

Alabama Deceptive Trade Practices Act ............................................................................... passim

Alabama Uniform Controlled Substances Act ....................................................................... passim

Controlled Substances Act ..................................................................................................... passim

Other Authorities

21 C.F.R. § 841(b) .........................................................................................................................11

21 C.F.R. §§ 1301.71–1301.76 ........................................................................................................9

21 C.F.R. § 1301.71(a)...................................................................................................................11

21 C.F.R. § 1301.74 ...................................................................................................................9, 11

Restatement (Second) of Torts § 821B cmt. g. ..............................................................................16

Fed. R. Civ. P. 9(b) ..............................................................................................................2, 14, 23




                                                                    viii
    Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 10 of 39. PageID #: 16233



            INTRODUCTION AND SUMMARY OF ISSUES AND ARGUMENT1

         The State of Alabama brings this sweeping lawsuit seeking to hold manufacturers of

certain lawful, FDA-approved opioid medications liable for the entire spectrum of public costs

arising from the abuse and illegal trafficking of opioids throughout the State. The crux of the

First Amended Complaint (“1AC”) is that the Manufacturer Defendants2 should have to pay for

all those societal and governmental costs—including lost taxes and expenditures related to law

enforcement and emergency services—simply because they marketed certain prescription opioid

medications for treatment for “long-term . . . chronic pain.” 1AC ¶ 6. The fundamental defect

with the State’s entire action is that FDA—weighing the risks and benefits of those opioid

medications—expressly approved their use for precisely that purpose.

         At bottom, the State disagrees with FDA’s balancing of the documented benefits and

risks of opioid medications for the treatment of chronic pain. But that is no basis for

liability. Otherwise, any State, county, or municipality could unilaterally decide that it disagrees

with a medication’s FDA approval and indications—and federal warning labels—and hold

manufacturers liable for purported “fraud” for marketing the products for indications approved

by FDA. That is at odds with state and federal law, as well as fundamental fairness.


1
  Pursuant to Case Management Order One (Dkt. 232) ¶ 2.g, the Manufacturer Defendants raise
only certain key common issues that warrant dismissal of the State’s claims. These Defendants
do not raise, and expressly reserve the right to later raise, additional grounds for dismissal of all
claims, including Defendant-specific challenges.
2
  As used in this motion the term “Manufacturer Defendants” includes Purdue Pharma LP,
Purdue Pharma Inc., and The Purdue Frederick Company Inc. (collectively, “Purdue”); Endo
Health Solutions Inc. and Endo Pharmaceuticals Inc. (collectively, “Endo”); and Rhodes
Pharmaceuticals L.P. (“Rhodes”). However, Rhodes is not a manufacturer of opioid
medications, and to the extent it is referred to in the State’s 1AC as a “manufacturer defendant”
that is not accurate. Rhodes uses the State’s characterization here only for the sake of ease in
joining this motion. The State also improperly categorizes Rhodes as a “Purdue” defendant
(1AC ¶ 19). Rhodes is a separate legal entity from the Purdue defendants.




                                                 1
 Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 11 of 39. PageID #: 16234



       The State’s theory of liability also disregards both the myriad socioeconomic reasons for

opioid abuse and the many intervening links separating each company’s marketing from the

State’s expenditures on public services, including: extensive federal regulations; individual

doctor prescribing decisions; misuse and abuse of opioid medications by people who were never

prescribed them; and criminal conduct, including drug trafficking and diversion. Those

complexities preclude as a matter of law the State’s effort to recover from a few companies who

sold FDA-approved opioid medications all of the public spending and lost taxes it attributes to

widespread abuse of prescription and illicit opioids.

       This Court should dismiss this action in its entirety for a multitude of independent

reasons discussed in detail below and in the Manufacturer Defendants’ Joint Motion to Dismiss

the Summit County, Ohio action (Dkt. 499-1) (“Summit MTD”).

                                      LEGAL STANDARD

       To state a claim, the State’s allegations must meet the plausibility standard of Bell

Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and to the extent they sound in fraud, the

particularity standard of Rule 9(b). See Summit MTD at 5-6. The 1AC satisfies neither standard.

                                          ARGUMENT

I.     The State’s Claims for Damages Fail for Several Reasons

       A.      The Derivative-Injury Rule Bars the Claims

       Ordinarily, a party who sustains damages because of injuries to a third party cannot

directly sue the alleged wrongdoer for recovery. See, e.g., Lady Corinne Trawlers, Inc. v. Zurich

Ins. Co., 507 So. 2d 915, 918 (Ala. 1987) (insurer’s claim is “dependent upon its liability to [the

insured], which in turn is dependent upon [the tortfeasor’s] liability to [the insured]”); see also

City of Birmingham v. Crow, 101 So. 2d 264 (Ala. 1958) (government has no direct cause of




                                                 2
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 12 of 39. PageID #: 16235



action against a defendant for the city’s provision of health care to an injured third party); see

also Summit MTD at 10.

       This derivative injury rule is grounded in strong and long-standing administrative and due

process concerns about duplicative recovery and redressing harms that by their nature are too

remote as a matter of law. See generally Kentucky Laborers Dist. Council v. Hill & Knowlton,

Inc., 24 F. Supp. 2d 755, 763 (W.D. Ky. 1998) (“That a mega-lawsuit aggregating the claims of

thousands may be more efficient or convenient is not a reason to jettison a time-tested legal

doctrine.”). When a plaintiff’s recovery is dependent on another person’s injury, “[t]he general

tendency of the law, in regard to damages at least,” is to allow only the directly harmed

individual to recover. See S. Pac. Co. v. Darnell-Taenzer Lumber Co., 245 U.S. 531, 533 (1918)

(Holmes, J.); see also Perry v. Am. Tobacco Co., 324 F.3d 845, 848-51 (6th Cir. 2003)

(dismissing RICO claim); City of San Francisco v. Philip Morris, Inc., 957 F. Supp. 1130, 1139

(N.D. Cal. 1997) (same).

       United Food & Commercial Workers Unions, Employers Health & Welfare Fund v.

Philip Morris, Inc., 223 F.3d 1271 (11th Cir. 2000), is particularly instructive. There, a health

plan claimed that tobacco manufacturers’ misrepresentations regarding the health effects of

smoking caused a higher incidence of smoking and led to greater healthcare costs among its

participants. Rejecting the claims, the court reasoned that the law “stops at the first link in the

chain of causation.”       Id. at 1273-74 (internal citations omitted).     Accordingly, “absent

subrogation—a health-care provider has no cause of action against a defendant who injures the

health-care provider’s ward, causing the health-care provider to incur increased expenses.” Id. at

1273 n.5.    Indeed, the court noted that courts “uniformly have rejected” claims for such




                                                3
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 13 of 39. PageID #: 16236



derivative injuries. Id. at 1274 (citing, e.g., Steamfitters Local Union No. 420 Welfare Fund v.

Philip Morris, Inc., 171 F.3d 912 (3d Cir.1999)).

       Like the plaintiff in United Food, the State seeks to recover expenditures it made to

address injuries derived from injuries to others.     The State alleges that the Manufacturer

Defendants made misrepresentations to unidentified doctors, which caused those doctors to

provide patients with unnecessary, ineffective and harmful opioid prescriptions, which led to

those patients experiencing addiction, overdose and other health problems, which in turn led to

increased government expenditures. 1AC ¶¶ 158-161, 364, 376-77. Like the plan’s alleged

damages in United Food, the State’s alleged injuries are purely derivative and not cognizable.

       The derivative-injury rule also bars the State’s efforts to recover amounts paid for opioid

medication the State claims it would not have reimbursed were it not for Defendants’ alleged

misrepresentations. 1AC ¶ 441. Courts have found such reimbursement theories no more

actionable than those for healthcare and other expenses derived from an injured person. See

Steamfitters, 171 F.3d at 928 (rejecting argument that derivative injury rule would not bar a

“case in which a defendant fraudulently induced health funds into reimbursing participants for a

dangerous medical procedure that then harmed these participants”).        The State’s claims to

recover for money it allegedly spent or lost as a result of prescriptions it asserts were improper

are no less remote than the State’s claims for other government expenditures that flow from

harms sustained by third-party opioid abusers, and all claims should be dismissed.

       B.      The State Has Failed to Plead Actual Causation

       The State must plead facts that, if true, could lead to a plausible conclusion that the

State’s injuries would not have occurred but for the Manufacturer Defendants’ alleged conduct.

See Ala. Pattern Jury Instruction 33.00 (defendant’s “conduct caused the harm if . . . the harm

would not have happened without the conduct”); see generally Twombly, 550 U.S. at 555-56.



                                                4
    Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 14 of 39. PageID #: 16237



Nowhere in the 459-paragraph 1AC does the State plead any facts that would causally link any

alleged misrepresentation or other wrongful conduct by the Manufacturer Defendants to the

State’s alleged harm.

         For example, the 1AC does not identify any specific instance of an improper statement by

any of the Manufacturer Defendants that caused an Alabama physician to form a misimpression

about the addictive nature of opioid medications and then write a particular ineffective and

harmful prescription. Similarly, the 1AC does not identify a specific suspicious order that the

Manufacturer Defendants supposedly had a duty, but failed, to report. Absent such allegations,

the State has failed to plead even the first step in the causal chain necessary to plead a plausible

claim that the alleged misconduct caused any harm,3 let alone the necessary links in the chain

leading to the expansive harms the State alleges. City of Chi. v. Purdue Pharma, L.P., No. 14-C-

4361, 2015 WL 2208423, at *14 (N.D. Ill. May 8, 2015) (dismissing fraud-based claims because

“the City d[id] not allege . . . the identities of doctors who, as a result of [the] alleged

misrepresentations, prescribed opioids” that caused the resulting harm).

         The failure of the State to properly plead causation is highlighted by the fact that the FDA

has expressly determined that the Manufacturer Defendants are legally permitted to manufacture,

promote, and sell their opioid medications to treat chronic pain. For instance, the FDA-approved

label for Purdue’s OxyContin provides: “OXYCONTIN is indicated for the management of pain

severe enough to require daily, around-the-clock, long-term opioid treatment and for which

alternative treatment options are inadequate . . . .” Sean Morris Declaration (“Morris Decl.”) ¶ 2


3
  In re Bextra & Celebrex Mktg. Sales Practices & Prod. Liab. Litig., 2012 WL 3154957, at *6-8
(N.D. Cal. Aug. 2, 2012) (dismissing damages claim because Plaintiffs failed to allege “specific”
facts “that individual physicians actually relied on these misrepresentations in writing the
challenged prescriptions”); see also Summit MTD at n.15.




                                                  5
    Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 15 of 39. PageID #: 16238



& Ex. A (OxyContin label) at § 1.4 FDA’s approval means that the agency found “substantial

evidence that the drug will have the effect it purports or is represented to have,” and that these

medications are safe and effective for treating chronic pain long-term. 21 U.S.C. § 355(d). The

manufacture, distribution, and promotion of the Manufacturer Defendants’ medications for the

approved use of treating chronic pain is thus not only lawful, but expressly approved by the

FDA; liability accordingly cannot rest on the sale or promotion of opioids for chronic pain.

Indeed, federal law preempts any attempt to impose state-law liability on these activities. See,

e.g., Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 488-89 (2013); Strayhorn v. Wyeth Pharm., Inc.,

737 F.3d 378, 394 (6th Cir. 2013); Summit MTD § IV (full preemption argument, incorporated

herein by reference). Further, even if the claims were permissible, the State has not pled the

existence of any medically unnecessary prescriptions written as a result of a Manufacturer

Defendant’s wrongful conduct, which then caused the State harm.              Its claims should be

dismissed. City of Chi. v. Purdue Pharma L.P., 211 F. Supp. 3d 1058, 1079-84 (N.D. Ill. 2016).

         C.     The State Cannot Establish Proximate Causation

         Even if the State could plead but-for causation, its claims would still fail, like those of

other governmental entities (Summit MTD at 12-17, 29-30), because the State cannot establish

that any alleged wrongful acts by the Manufacturer Defendants were the proximate cause of the

State’s alleged injuries. “Proximate cause is an act or omission that in a natural and continuous

sequence, unbroken by any new and independent causes, produces an injury or harm . . . .”

Morguson v. 3M Co., 857 So. 2d 796, 800 (Ala. 2003) (quoting Dillard v. Pittway Corp., 719 So.


4
   The label for Endo’s Opana ER contained a similar statement. Id. ¶ 3 & Ex. B at 1
(“Indications and Usage”). The Manufacturer Defendants request that the Court take judicial
notice of these warning labels in their accompanying Request for Judicial Notice (“RJN”) ¶¶ 1,
2.




                                                  6
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 16 of 39. PageID #: 16239



2d 188, 192 (Ala. 1998)). “[T]he word ‘proximate’ adds the requirement of unbroken causation

between an act and an injury produced by that act.” Gen. Motors Corp. v. Edwards, 482 So. 2d

1176, 1194 (Ala. 1985), overruled on other grounds by Schwartz v. Volvo N. Am. Corp., 554 So.

2d 972 (Ala. 1989) (emphasis added). “[A] cause not within the chain is said to be ‘remote’ and,

thus, not actionable.” Id.

       The causal chain here is far too attenuated to support the conclusion that conduct by the

Manufacturer Defendants’ proximately caused the alleged harm. The State’s theory is (1) that

each Manufacturer Defendant misleadingly marketed one or more opioid medications; (2) that

some unidentified doctors heard or saw this marketing; (3) that marketing (as opposed to

independent medical judgment) caused the doctors to write prescriptions that the doctors would

not otherwise have written; (4) that those prescriptions led to addiction, overdose, or other injury

for unidentified patients; (5) that first responders, law enforcement, or prisons had to assist or

incarcerate these injured individuals; (6) that the State incurred lost tax revenue and social

service costs associated with these services or incarceration. 1AC ¶ 363. That chain cannot bear

the weight the State places on it. Summit MTD at 12-17.

       Moreover, intervening events and actors break the chain.             For one, the learned

intermediary doctrine, which Alabama has long recognized, breaks the causal chain as a matter

of law. Stone v. Smith, Kline & French Labs., 447 So. 2d 1301, 1304-05 (Ala. 1984); Springhill

Hosps., Inc. v. Larrimore, 5 So. 3d 513, 518 (Ala. 2008). As explained in detail in other briefs

(see, e.g., Summit MTD § II(B)(4)(a)), under that doctrine, a physician has a duty to know the

qualities and characteristics of the medications he or she prescribes.        That information is

provided directly to the doctors through FDA-required labeling, which includes extensive and

detailed information regarding the risks associated with the medication. For opioids, the risks




                                                 7
 Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 17 of 39. PageID #: 16240



identified in the labeling include addiction, abuse and misuse, overdose, and death. Under the

circumstances, the State cannot plausibly allege that the Manufacturer Defendants concealed or

minimized risks prominently disclosed in the FDA-required labeling.

       Beyond that, the chain is broken by the negligent or criminal acts of third parties. Under

Alabama law, where some independent party or agent “has intervened and been the immediate

cause of the injury, the party guilty of negligence, in the first instance, is not responsible.”

Morgan v. City of Tuscaloosa, 108 So. 2d 342, 346 (Ala. 1959). Criminal acts of a third person

that cause injury are “new independent causes” that intervene or break the chain of causation.

Colonial BancGroup, Inc. v. PricewaterhouseCoopers, LLP, No. 2:11-cv-746-WKW, 2014 WL

4444148, at *5 (M.D. Ala. Sept. 9, 2014); Moye v. A.G. Gaston Motels, Inc., 499 So. 2d 1368

(Ala. 1986). Here, as in Summit, the State’s claims fail because they depend on the intervening

negligent and criminal conduct of others. See Summit MTD §§ II.B.2, VII.B, IX, X.

II.    The State’s Drug-Law Claims (Counts III & IV) Fail

       Counts III and IV assert violations of state and federal drug laws. Count IV alleges a

violation of the federal Controlled Substances Act (“CSA”) and Alabama Uniform Controlled

Substances Act (“ACSA”), and it is styled as a claim under the latter.           Count III alleges

violations of the Drug-Related Nuisance Statute, Ala. Code §§ 6-5-155 et seq., but it is

predicated on the same alleged violations of the CSA and ACSA. 1AC ¶¶ 390-92. Both counts

fail because the State does not plead any violation of the controlled substances laws, and in any

event, none of these laws gives the State a right of action for civil damages.

       A.      The State Has Not Pled a Violation of Federal or State Controlled Substances
               Acts by the Manufacturer Defendants

       The State claims the Manufacturer Defendants each (separately) violated the CSA and

ACSA by failing to monitor their respective distributor customers’ downstream sales and




                                                 8
    Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 18 of 39. PageID #: 16241



reporting any suspicious orders to the DEA and Alabama’s Pharmacy Board.5 1AC ¶¶ 302-22,

409. The State’s claims fail as a threshold matter because the CSA and ACSA do not impose

such requirements on the Manufacturer Defendants.

         The CSA creates a closed, three-tier distribution system.         Opioid manufacturers,

distributors, and pharmacies must be registered and may sell only to other registrants or patients

with a lawful prescription. 21 U.S.C. §§ 822, 823(a), (b) & (f); 829(a); 841(a). The DEA

requires each registrant to implement specific anti-diversion controls (21 C.F.R. §§ 1301.71–

1301.76), including that when distributing opioids to another person within the system, each

registrant must “make a good faith inquiry . . . to determine that the person is registered to

possess the controlled substance” and use a “system to disclose to the registrant suspicious

orders . . . .” 21 C.F.R. § 1301.74(a) & (b) (emphasis added). A manufacturer’s duty is to

ensure that its sales are to registered distributors, and it must monitor its orders from

distributors to assess whether any are suspicious. Each registered distributor is then obligated to

monitor its own orders from its pharmacy customers, and each pharmacy in turn is required to

monitor prescriptions it fills for its own customers, the patients.      The system depends on

registrants at each link in the distribution chain to monitor their own customers’ orders for signs




5
  In Count IV, the State asserts various other conclusions—that Purdue and/or Endo failed to
“properly register,” failed to provide accurate information in “applications, reports, records and
other [required] documents,” and failed to “report suspicious activity” (1AC ¶¶ 409, 412-13)—
none of which is alleged in the form of facts sufficient to state a claim for relief, Twombly, 550
U.S. at 555-56. The State also incorrectly (and highly improperly) asserts that Endo somehow
has been found criminally liable for conduct related to its opioid medications. This is entirely
false. The settlement the State references (id. ¶ 412) was civil in nature and the product at issue
was fluoride. It had nothing to do with opioid medications at all. Morris Decl. ¶ 4 & Ex. C;
RJN ¶ 3.




                                                9
    Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 19 of 39. PageID #: 16242



of diversion.6 See also Summit MTD at 32. The State makes no allegation that the Manufacturer

Defendants received but failed to report suspicious orders from their distributor customers.

         Similarly, the ACSA creates a parallel closed, three-tier distribution system within

Alabama (Ala. Code §§ 20-2-51(a), 20-2-58(a); Ala. Admin. Code r. 680-X-3-.05(1)), and

imposes the obligation to monitor pharmacy orders only on the distributors who sell to

pharmacies.     Under the regulations implementing the ACSA, opioid manufacturers and

distributors in the state who “sell . . . to a registrant other than another manufacture or

wholesaler” must submit “copies of records and reports required by the Drug Enforcement

Administration concerning increases in purchases or high or unusual volumes purchased by

pharmacies within 30 days.” Ala. Admin. Code r. 680-X-3-.05(2) (emphasis added). The State

makes no allegation that the Manufacturer Defendants made sales to customers other than

registered distributors.

         The State therefore fails to allege any CSA and ACSA violation by the Manufacturer

Defendants.

         B.     The Controlled Substances Acts Do Not Give the State a Right to the Relief It
                Seeks

         Even if the State had alleged violations of the CSA or ACSA by the Manufacturer

Defendants, the statutes do not authorize the relief the State seeks. The relevant CSA regulations


6
  The State relies on a 2017 settlement between Mallinckrodt, an opioid manufacturer not named
in this action, and the Department of Justice (1AC ¶¶ 308-15) as support for its position that
opioid manufacturers must monitor downstream sales under the CSA. But, as the DOJ
recognized in a judicially noticeable press release, that settlement was “groundbreaking” because
it rested on a compromise of allegations that Mallinckrodt had and breached a duty to “monitor
and report to DEA suspicious sales of its oxycodone at the next level in the supply chain . . . .”
Morris Decl. ¶ 5 & Ex. D; RJN ¶ 4. The settlement did not rely on authority imposing a federal
or state-law duty on a manufacturer to monitor downstream orders, and as it was not an
adjudicated ruling, the settlement does not serve as authority for the idea that such a duty exists.




                                                10
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 20 of 39. PageID #: 16243



provide only that “[t]he registrant shall inform the Field Division Office of the [DEA] . . . of

suspicious orders when discovered by the registrant.” 21 C.F.R. § 1301.74(b) (emphasis added).

And it is solely “the Administrator [who] shall use the security requirements set forth [under

federal law]” “[i]n order to determine whether a registrant has provided effective controls against

diversion.” Id. § 1301.71(a) (emphasis added). Violations of the CSA empower the United

States Attorney General to deny, revoke or suspend a manufacturer’s federal registration

through administrative proceedings (21 U.S.C. § 824), obtain criminal penalties and fines (id. §

841(b) (found unconstitutional on other grounds)), and secure to the United States criminal

forfeiture of proceeds from and property used in the violation (id. § 853). A state has no

authority to enforce the CSA. See infra § V.A (no negligence per se).

       While the ACSA creates a concurrent regulatory scheme under which the Alabama

Attorney General has enforcement authority, it—like the federal statute—does not authorize

enforcement through a civil claim for damages. The ACSA allows the State Board of Pharmacy

to deny a registration application for lack of adequate controls against diversion. Ala. Code §

20-2-52(a)(1). And it provides for administrative proceedings under which the same board can

revoke a registration. Id. §§ 20-2-53, 20-2-54. The statute also provides for enforcement by all

prosecuting attorneys, but the only remedies it authorizes are criminal fines and penalties (id. §§

20-2-71, 20-2-72), an injunction against violations (id. § 20-2-92), and forfeiture of the

controlled substances, property, or money used in a violation (id. § 20-2-93). It does not provide

for civil damages. See also infra § V.A (no negligence per se).

       The State’s claim for damages is not authorized by the CSA or ACSA.




                                                11
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 21 of 39. PageID #: 16244



       C.      The State Pleads No Violation of the Drug-Related Nuisance Statute Because
               That Statute Covers Only Drug-Related Activity at Specific Real Property

       Nor does Alabama’s Drug-Related Nuisance Statute, Ala. Code § 6-5-155, et seq., permit

the State to bring a civil damages claim against a manufacturer for alleged violations of the CSA

or ACSA.     The State suggests those violations are statutorily defined as a “Drug-Related

Nuisance.” 1AC ¶ 390 (citing Ala. Code § 6-5-155.1(3)(b)). But this Court must consider the

statutory scheme in its entirety. Siegelman v. Ala. Ass’n of School Bds., 819 So. 2d 568, 582

(Ala. 2001) (courts “do[] not interpret provisions in isolation, but consider[] them in the context

of the entire statutory scheme”). And the scheme here requires that CSA or ACSA violations be

linked to a specific piece of real property.

       When enacting the Drug-Related Nuisance Statute, the legislature expressly stated an

intent to amplify the “inadequate incentives for property owners to take a more active role in

preventing the use of their property for the manufacture, use, sale, storage, or distribution of

drugs.” Ala. Code § 6-5-155(3) (emphasis added). Read as a whole, the statute addresses only

conduct occurring at a specific piece of property. The statute requires the claimant to “describe

the adverse impact associated with the drug-related nuisance upon the surrounding

neighborhood.” Id. § 6-5-155.3(a). The statute identifies 18 examples of “adverse impact” that

all evaluate a subject property; indeed, 15 of the 18 factors expressly use the term “property.” Id.

Similarly, the statute requires that any complaint by a private citizen must “be supported by at

least five residents residing or owning real property within 1,000 feet of the premises alleged to

be a drug-related nuisance.” Ala. Code § 6-5-155.3(c). Even the civil penalty provision cited by

the State, 1AC ¶ 398, does not apply without reference to a specific location, because that

determines the fund into which penalties are paid. Ala. Code § 6-5-155.7; see also id. § 6-5-

156.3(d) (multiple remedies for property, such as “clean up,” “repairs,” “installing secure locks




                                                12
    Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 22 of 39. PageID #: 16245



on doors,” or redirecting “all rental income”). The statute also requires a plaintiff to “notify the

owner of the property on which the drug-related nuisance is situated” before suing, id. § 6-5-

155.3(b), and contains numerous other property-related provisions.7

         The State does not allege that the purported nuisance here is related to a given property.

To the contrary, in an attempt to excuse its failure to provide the notice required under the

statute, the State asserts that “the drug related nuisance is not confined to any single property.”

1AC ¶ 396. But the statute requires notice. The failure to give notice by itself dooms the State’s

claims. Its concession that the alleged nuisance does not involve a given property also mandates

dismissal.

III.     The State’s Claim Under the Alabama Deceptive Trade Practices Act (Count II)
         Fails

         A.     The State is Not a “Consumer” That Can Recover Damages Under the
                ADTPA

         The State is not a “consumer” as defined by the ADTPA, and therefore cannot recover

compensatory damages for any alleged violation. The 1AC alleges that Defendants engaged in

acts prohibited by five different subsections of Alabama Code Section 8-19-5: (2), (5), (7), (9)

and (27). 1AC ¶ 384. Except for acts prohibited by subsections (19) and (20), which are not

asserted here, the ADTPA makes damages available only to a “consumer.” Ala. Code §§ 8-19-

10(a)(1) & (2). The ADTPA defines a “consumer” as “any natural person who buys goods or


7
  See Ala. Code §§ 6-5-155.6 (providing for restraining orders regarding the “contents of the
place where the drug-related nuisance is alleged to exist,” to be left at or posted at “the place” of
the nuisance), 6-5-155.8 (authorizing protection of witnesses from “any defendant or other
person using the property alleged to be a drug-related nuisance”); 6-5-156.1 (“evidence of the
general reputation of the property” admissible); 6-5-156.3(a) (higher standard of proof required
“to establish that the owner of the property who is not a resident or in actual possession of the
property was criminally culpable”); 6-5-156.4(c), (d) (order of abatement may be suspended or
cancelled if “owner of the property” meets certain conditions).




                                                 13
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 23 of 39. PageID #: 16246



services for personal, family or household use.” Id. at 8-19-3(2). As neither a “natural” person

nor a purchaser of goods for “personal, family or household use,” the State certainly is not a

“consumer.” See In re Ford Motor Co. E-350 Van Prods. Liab. Litig. (No. II), Civ. No. 03-4558

(HAA), MDL No. 1687, 2008 WL 4126264, at *22 (D.N.J. Sept. 2, 2008) (dismissing ADTPA

claim because legal entities “are not natural persons”); cf. In re Bextra and Celebrex Marketing

Sales Practices and Prod. Liab. Litig., 495 F. Supp. 2d 1027, (N.D. Cal. 2007) (dismissing

ADTPA claim against third-party payors in part because they are not “natural persons”).

       B.     The State Fails To Plead any False or Misleading Statements with
              Particularity

       The State’s ADTPA claim alleges that the Manufacturer Defendants fraudulently

misrepresented the characteristics of their products. 1AC ¶ 384 (citing Ala. Code. §§ 8-19-5(2),

(5), (7), and (9)). “Claims brought pursuant to the . . . ADTPA are subject to the heightened

pleading standards of Federal Rule of Civil Procedure 9(b).” Reid v. Unilever U.S., Inc., 964 F.

Supp. 2d 893, 916 (N.D. Ill. 2013); Holmes v. Behr Process Corp., No. 2:15-cv-0454, 2015 WL

7252662, at *2 (N.D. Ala. Nov. 17, 2015). To make out an ADTPA claim, the State must

identify specific misleading statements, the recipients of those statements, how the recipients

were misled, how the statements affected the recipients’ behavior, and how the statements

caused the State’s damages. Cooper v. Bristol-Myers Squibb Co., No. 07-cv-885, 2009 WL

5206130, at *7 (D.N.J. Dec. 30, 2009) (applying Alabama law). The State fails to satisfy this

heightened pleading requirement. The 1AC does not identify the who, what, when, where, and

why of the purported fraud. The State describes broad categories of alleged misstatements, but it

does not identify a single Alabama prescriber who received and was misled by them when

prescribing an opioid medication for a patient. Because the State has failed to adequately plead




                                               14
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 24 of 39. PageID #: 16247



fraud with particularity, its claims under § 8-19-5(2), (5), (7) and (9) should be dismissed. (The

State also failed to comply with Ala. Code § 8-19-10(e).)

       C.      The State Has Failed To Plead an “Unconscionable Act”

       In addition to the ADTPA claims regarding misstatements, the State relies on the catch-

all provision of the ADTPA, which prohibits “[e]ngaging in any other unconscionable, false,

misleading, or deceptive act or practice in the conduct of trade or commerce.” 1AC ¶ 384(e)

(citing Ala. Code. § 8-19-5(27)). But the State fails to adequately plead an unconscionable act

by the Manufacturer Defendants. Under Alabama law, a party claiming unconscionability must

allege that (1) one party to a transaction was unsophisticated or uneducated, (2) there was an

“absence of meaningful choice on one party’s part,” (3) the “contractual terms [we]re

unreasonably favorable to one party,” (4) there was “unequal bargaining power among the

parties,” and/or (5) there were “oppressive, one-sided, or patently unfair terms in the contract.”

See In re Russell, 181 B.R. 616, 623 (M.D. Ala. 1995) (citing Layne v. Garner, 612 So. 2d 404,

408 (Ala. 1992)). The State does not and cannot meet this standard here, where its claims

involve alleged statements to sophisticated learned intermediaries, the State itself is a

sophisticated entity, and the State has not, in any case, identified the circumstances of any

alleged misrepresentation or omission to any physician or other person, much less a transaction

that would meet Alabama’s unconscionability requirements. Accordingly, the alleged acts or

omissions were not “unconscionable” within the meaning of the ADTPA, and the State’s claim

under § 8-19-5(27) should be dismissed.

IV.    The State’s Statutory Public Nuisance Claim (Count I) Fails

       The State’s public nuisance claim fails for a least two reasons, in addition to the failure to

establish causation (supra § I.B & C; Summit MTD at 41-42). First, the rights that the State

alleges have been interfered with are not the kind of rights protected by a public nuisance claim.



                                                15
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 25 of 39. PageID #: 16248



Alabama law defines public nuisance as “one which damages all persons who come within the

sphere of its operation, though it may vary in its effects on individuals.” Ala. Code § 6-5-121

(emphasis added). This definition is similar to the Second Restatement of Torts’ definition of a

public nuisance as “an unreasonable interference with a public right,” which is “collective in

nature and not like the individual right that everyone has not to be assaulted or defamed or

defrauded or negligently injured.” Restatement (Second) of Torts § 821B cmt. g. The State’s

public nuisance claim is premised on specific alleged interferences with the right not to be

defrauded or negligently injured in the receipt of medical care. These are decidedly individual,

not public, rights. State v. Lead Indus. Ass’n, Inc., 951 A.2d 428, 454 (R.I. 2008) (“there is no

common law public right to . . . a certain standard of medical care”); see also Summit MTD at

43-44; Distributors’ Joint MTD in Summit County at 26-29.

       Second, this claim fails because Alabama does not impose liability on defendants when

independent third-party conduct was essential to creating the public nuisance. As the Alabama

Supreme Court found in Tipler v. McKenzie Tank Lines: “The problem is one of remoteness. . . .

[The defendant] cannot be charged and held liable either for maintaining, or for failing to

prevent, a chain of events and circumstances over which it had no reasonable means of control.”

547 So. 2d 438, 441 (Ala. 1989). Using this same reasoning, other courts have refused to impose

liability for public nuisance where the purported nuisance arose at least in part from the conduct,

including criminal conduct, of third parties over whom the defendant had no control, see, e.g.,

City of Chicago v. Beretta, 821 N.E. 2d 1099, 1109 (Ill. 2004), and where, as here, an alleged

nuisance implicates multifaceted and complex activities extending far outside the parties and

claims before the court, see, e.g., City of Oakland v. BP P.L.C., No. C17-06011, 2018 WL

3109726, at *7-*9 (N.D. Cal. June 25, 2018).




                                                16
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 26 of 39. PageID #: 16249



       Here, between the alleged misconduct by the Manufacturer Defendants and the social ills

for which the State seeks recovery are numerous criminal acts of abuse and diversion by third

parties over whom these Defendants have no control. Supra § II.A (federal law); Ala. Code §

13A-12-212 (unlawful possession or receipt of controlled substances); id. § 20-2-51 (requiring

registration to distribute and dispense controlled substances); id. § 20-2-71 (criminal penalties

for dispensing or distributing controlled substances unlawfully); id. §34-23-7 (criminal penalties

for possession of drug without lawful prescription). Like the Tipler and Beretta defendants, the

Manufacturer Defendants cannot control the criminal acts of third parties who divert their

medications or misuse them, or who otherwise violate federal or state law.

V.     The State’s Common Law Claims Fail for Additional Claim-Specific Reasons

       A.      The State’s Negligence Claim (Count V) Fails

       The State has not alleged facts establishing any cognizable duty the Manufacturer

Defendants owe to the State, so its common-law negligence claim (id. ¶¶ 431-35) fails. “In

Alabama, the existence of a duty is a strictly legal question,” to be determined considering

foreseeability of harm and “the nature of the defendant’s activity; [] the relationship between the

parties; and [] the type of injury or harm threatened.” DiBiasi v. Joe Wheeler Elec. Membership

Corp., 988 So. 2d 454, 460-61 (Ala. 2008). Mere knowledge of a risk of harm is insufficient.

Id. at 463. The State attempts to allege three breaches of a duty owed to it. Each fails.

       The Misrepresentation Claim.           The State alleges the Manufacturer Defendants

breached a duty of due care by “failing to inform physicians and consumers [of the] nature of the

drugs” because their “warnings to prescribing physicians were inadequate” and their alleged

misstatements “ensured that prescribing physicians were unaware of the risks.” 1AC ¶¶ 431-32.

But this duty was not owed to the State, and in any event, the Manufacturer Defendants satisfied

it by providing FDA-approved warnings with the medications. The State has not pled any



                                                17
    Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 27 of 39. PageID #: 16250



circumstances that would warrant an exception to the rule that a defendant owes no duty to a

third party in connection with its representations or warnings. Colonial Bank v. Ridley &

Schweighert, 551 So. 2d 391, 395 (Ala. 1989).

         The Promotion Claim. The State alleges the Manufacturer Defendants breached a duty

of due care in the promotion of their opioids by “aggressively promoting them for chronic pain.”

1AC ¶ 431. But the FDA has approved those opioid medications to treat chronic pain. Federal

law therefore preempts any claim seeking to impose state-law liability for the promotion of

FDA-approved opioid medications for an FDA-approved use. Summit County MTD § IV.A.

         The Reporting Claim.      Finally, the State alleges the Manufacturing Defendants

breached “a duty to prevent diversion and report and halt suspicious orders thereby failing to

comply with its legal duties.” 1AC ¶ 433. The allegation implicitly relies on the State’s

allegations that the Manufacturing Defendants violated the CSA and ACSA. As discussed, those

statutes did not impose a duty as expansive as the State claims. Supra § II.A. Nor can these

statutes be the basis for a claim of negligence per se because the CSA and ACSA were enacted to

protect the public at large, and not “a class of persons, of which the plaintiff is a member.”

Parker Bldg. Servs. Co., Inc. v. Lightsey ex rel. Lightsey, 925 So. 2d 927, 931-32 (Ala. 2005).8



8
  See id. at 932 (no negligence per se claim based on Federal Debt Collection Practices Act);
Flint City Nursing Home, Inc. v. Depreast, 406 So. 2d 356, 360 (Ala. 1981) (no negligence per
se claim for violation of nursing home licensing requirements and health and safety codes); see
also Doe v. Fulton-Dekalb Hosp. Authority, 628 F.3d 1325, 1340 (11th Cir. 2010) (holding that a
regulation intended for licensing and inspection purposes cannot provide the basis for a
negligence per se claim); Winberry v. United Collection Bureau, Inc., 697 F. Supp. 2d 1279,
1293-94 (M.D. Ala. 2010) (holding Fair Debt Collection Practices Act enacted to protect
consumers generally does not protect a “class of persons” and therefore does not support a
negligence per se claim); cf. Bennett v. Nationstar Mortgage, LLC, No. 15-cv-165-KD-C, 2015
WL 5294321, at *6 (S.D. Ala. Sept. 8, 2015) (rejecting allegations of negligence per se based on
violations of mortgage regulations).




                                                18
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 28 of 39. PageID #: 16251



Given the specific and limited enforcement provisions of the CSA and ACSA (supra II.B), and

the strong presumption that criminal statutes to protect the general public do not create private

rights of action, the controlled substances acts do not create a right of action for the State. See

Durr v. Strickland, 602 F.3d 788, 789 (6th Cir. 2010) (“no private right of action exists under”

the CSA); Safe Sts. Alliance v. Alternative Holistic Healing, LLC, No. 1:15-cv-00349-REB-CBS,

2016 WL 223815, at *3 (D. Colo. Jan. 19, 2016) (“federal courts uniformly have held that there

are no private rights of action under the CSA”), aff’d, 859 F.3d 865 (10th Cir. 2017).

       B.      Alabama’s Wantonness Claim (Count VII) Fails

       Alabama’s wantonness allegations are wholly indistinguishable from its negligence

allegations. Compare 1AC ¶¶ 431-33 with id. ¶¶ 445-46. Alabama law is clear that “wantonness

is not merely a higher degree of culpability than negligence. Negligence and wantonness, plainly

and simply, are qualitatively different tort concepts.” Ex parte Essary, 992 So. 2d 5, 9 (Ala.

2007) (quoting Tolbert v. Tolbert, 903, So. 2d 103, 114-15 (Ala. 2004)). To support a claim of

wantonness, a plaintiff must establish that “the defendant engaged in conduct conscious, or in

knowing disregard, that it was likely to cause injury.” Craft v. Triumph Logistics, Inc., 107 F.

Supp. 3d 1218, 1221 (M.D. Ala. 2015). By failing to adequately allege even negligence, the

State necessarily has failed to allege the required elements for the higher “wantonness” standard.

       C.      The State’s Federal Common Law Unjust Enrichment Claim (Count VI)
               Fails

       To plead a federal common law unjust enrichment claim against the Manufacturer

Defendants, the State must allege the manufacturer held money that belongs to or was

improperly paid to it by the State because of mistake or fraud. See U.S. v. Dekalb County, 729

F.2d 738, 742 (11th Cir. 1984). Here, the State does not allege that it covered any opioid

prescriptions based on a fraudulent statement that it received, as opposed to unidentified




                                                19
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 29 of 39. PageID #: 16252



physicians and consumers.      1AC ¶¶ 439, 441.       Moreover, the only recovery available is

restitution of the benefit conferred directly on the defendant as an ill-gotten gain, not the amount

of the plaintiff’s losses. See Commodity Futures Trading Comm’n v. Wilshire Inv. Mgmt. Corp.,

531 F.3d 1339, 1345 (11th Cir. 2008); S.S. Silberblatt, Inc. v. E. Harlem Pilot Block-Building 1

Hous. Dev. Fund Co., Inc., 608 F.2d 28, 41 (2d Cir. 1979). Here, the State makes no effort to

identify which opioid prescriptions that it reimbursed failed to provide effective pain relief and

thus conferred an ill-gotten gain on anyone; the State paid pharmacies, not the Manufacturer

Defendants, when covering prescriptions filled with their medications; the State did not even

indirectly benefit the Manufacturer Defendants when providing reimbursement for any other

“opioid prescriptions covered by the State” (1AC ¶ 441); and the State’s alleged expenditures to

address “opioid addiction, overdose, injury, and death” (id. ¶ 441) are services provided to its

citizens and thus unrecoverable damages, City of Miami v. Bank of Am. Corp., 800 F.3d 1262,

1288 (11th Cir. 2015), vacated and remanded on other grounds, 137 S. Ct. 1296 (2017). The

State’s unjust enrichment claim therefore must be dismissed.

VI.    The State’s Claims for Monetary Relief Are Entirely or Predominately Barred by
       the Applicable Statutes of Limitations

       The State commenced this action on February 6, 2018, long after the alleged misconduct

had been the focus of public scrutiny and the statute of limitations had lapsed. Recognizing this

facial deficiency the Complaint attempts to get around the statute of limitations, but it fails to

adequately allege tolling or any other doctrine that would allow these stale claims to proceed.




                                                20
    Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 30 of 39. PageID #: 16253



         A.     The State Cannot Recover Damages or Restitution Relating to Any
                Individual’s Opioid Use Beginning Before February 6, 2016

         Alabama law imposes strict, conservative statutes of limitations, and disfavors the use of

liberal tolling doctrines to spare stale claims. Claims for damages or restitution are subject to a

two-year limitation period,9 which begins to run the day the plaintiff “could first maintain the

action”—i.e. when the first actionable injury occurred, “regardless of whether the full amount of

damage is apparent at the time of the first injury.” Booker v. United Am. Ins. Co., 700 So.2d

1333, 1339-40 (Ala. 1997). The statute of limitations begins to run at this time regardless of

whether the plaintiff discovered the alleged misconduct or injury. Moon v. Harco Drugs, Inc.,

435 So. 2d 218, 220 (Ala. 1983). The Alabama Supreme Court explained that this rule of

accrual applies “be the actual damage (then apparent) however slight” and that:

         [T]he statute will operate to bar a recovery not only for the present damages but
         for damages developing subsequently and not actionable at the time of the wrong
         done; for in such a case the subsequent increase in the damages resulting gives no
         new cause of action. Nor does plaintiff’s ignorance of the tort or injury, at least if
         there is no fraudulent concealment by defendant, postpone the running of the
         statue until the tort or injury is discovered.

Id. (emphasis in original) (internal quotations omitted).         Alabama courts adhere to these

substantive-law principles because they “advance[ ] the truth-seeking function of our justice

system, promote[ ] efficiency by giving plaintiffs an incentive to timely pursue claims, and

promote[ ]stability by protecting defendants from stale claims.” Travis v. Ziter, 681 So. 2d 1348,


9
  See Ala. Code § 6-2-38(l) (“All actions for any injury to the . . . rights of another not arising
from contract and not specifically enumerated in this section must be brought within two years);
see also Boyce v. Cassese, 941 So. 2d 932, 945 (Ala. 2006) (negligence); Ex parte Brian Nelson
Excavating, LLC, 25 So. 3d 1143, No. 1071473, 2009 WL 1643351, *2 (Ala. June 12, 2009)
(nuisance claims); Ex parte Capstone Bldg. Corp., 96 So.3d 77, 88 (Ala. 2012) (wantonness);
Auburn Univ. v. Int’l Bus. Mach., Corp., 716 F. Supp. 2d 1114, 1118 (M.D. Ala. 2010) (unjust
enrichment); Boyle & Co., Inc. v. Fasano, No. 5:03cv47-V, 2006 WL 572183, at *7 (W.D.N.C.
Mar. 3, 2006) (holding state statute of limitations applies to federal unjust enrichment claims).




                                                  21
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 31 of 39. PageID #: 16254



1355 (Ala. 1996) (rejecting exception to date-of-injury rule of accrual for childhood sexual abuse

victims who suffered from “an inability to comprehend a specific legal right, or to recall events

that happened many years before”).

                1.      The State’s Claims for Damages or Restitution Are Entirely or at
                        Least Predominately Barred Under the First-Injury Rule of Accrual

        Under this accrual rule, the State’s causes of action for damages and restitution accrued

entirely, or at least predominately, outside of the limitations period. The State rests its theories

of liability on conduct that began as far back as the mid-1990s. 1AC ¶¶ 107, 133, 228. And the

bulk of the alleged conduct occurred between 2007 and 2013. Id. ¶¶ 84-85, 91-94, 107-09, 113-

14, 121-22, 133, 139, 160, 167-68, 173, 188-90, 197-98, 214-15, 218-19. Moreover, the State’s

alleged injuries would have first occurred not long after the conduct. According to the State,

misrepresentations regarding the risks and benefits of opioid analgesics for chronic pain followed

by prescriptions that prescribers otherwise would not have written, id. ¶¶ 109-10, 124, 165, and

failures to take steps to prevent diversion, id. ¶¶ 433-35, 445, caused the State injury. The State

seeks recovery for payments made through its Medicaid program or employee benefits plans, id.

¶¶ 358, 441, and for expenses incurred when providing addiction and overdose services and law

enforcement, id. ¶¶ 325, 363, 376-77. Under these allegations, a cause of action accrues under

each formal “count” the first time the State covers an individual’s allegedly inappropriate

prescription or incurs an expense in relation to a particular individual’s addiction. See Moon,

435 So. 2d at 220 (cause of action accrued as soon as plaintiff first became ill from product).

        As a result, given the February 6, 2018 original filing date of this action, the State’s

claims are barred as to any particular individual’s opioid use and resulting State expenses first

incurred before February 6, 2016, irrespective of whether the State incurred additional expenses

in relation to that patient’s addiction thereafter. Id.




                                                   22
 Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 32 of 39. PageID #: 16255



               2.      The Fraudulent Concealment and Equitable Estoppel Doctrines Do
                       Not Toll the Limitations Period

       The State’s tolling allegations (1AC ¶¶ 343-54) fail to provide the required particularity10

or even suggest the Manufacturer Defendants may have engaged in conduct that would toll the

relevant statutes. The doctrines do not apply simply because a defendant is alleged to have

engaged in fraud; rather, they require affirmative conduct by the defendant to conceal the fraud

or other wrongful conduct or otherwise induce a plaintiff not to file suit. See Sellers v. A.H.

Robins Co., Inc., 715 F.2d 1559 (11th Cir. 1983) (rejecting under Alabama law a plaintiff’s

effort to invoke tolling doctrines because of the same alleged frauds on which her claims were

based); Holdbrooks v. Central Bank of Ala., N.A., 435 So. 2d 1250, 1252 (Ala. 1983) (“In the

absence of a duty to disclose material facts, a person’s mere silence is not actionable fraud.”);

Seybold v. Magnolia Land Co., 376 So. 2d 1083, 1085 (Ala. 1979) (“[T]he type of conduct

which is sufficient to give rise to an estoppel against pleading the statute of limitations must

amount to an affirmative inducement to the claimant to delay bringing action.”). The State’s

allegations here do not satisfy this strict factual requirement. 1AC ¶ 348.

       The State also cannot avoid the time bars because it has been on at least inquiry notice of

its potential claims since before February 6, 2016. The tolling doctrines apply only so long as

the State lacked actual or constructive knowledge of the facts giving rise to its claims. DGB,

LLC v. Hinds, 55 So. 3d 218, 225, n.3 (Ala. 2010) (quoting City of Gadsden v. Harbin, 398 So.

2d 707, 709 (Ala. Civ. App. 1981)) (fraudulent concealment); Weaver v. Firestone, 155 So. 3d

952, 962 (Ala. 2013) (equitable estoppel). The State had constructive knowledge as soon as it


10
   The circumstances and events constituting fraudulent concealment must be averred with
particularity, not in a generalized or conclusory manner. Fed. R. Civ. P. 9(b); Waldrup v.
Hartford Life Ins. Co., 598 F. Supp. 2d 1219, 1226-27 (N.D. Ala. 2008).




                                                23
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 33 of 39. PageID #: 16256



became aware of a fact that would cause a reasonable person to investigate and become aware of

the facts giving rise to its claims. Sellers, 715 F.2d at 1561-62; Papastefan v. B & L Const. Co.,

Inc. of Mobile, 385 So. 2d 966, 968 (Ala. 1980).

       As a matter of law, the State had at least constructive knowledge of its claims before the

beginning of the limitations period, February 6, 2016. For example, the Alabama Drug Abuse

Task Force’s February 2013 Report to the Alabama Legislature, joined by the Alabama Attorney

General, reports: “Alabama is among the highest in the country for numbers of persons with

prescribed pain medication. There were 1.2 million prescriptions prescribed for painkilling

narcotics per month for a total of 14 million per year.” Morris Decl. ¶ 6 & Ex. E; RJN ¶ 5.

Indeed, the State included an updated form of this statistic in the 1AC. 1AC ¶ 357.

       Moreover, the facts on which the State now bases its claims were in no way concealed or

hidden, and would easily have been discoverable by the State.         The 1AC is premised on

statements made as part of each manufacturer defendant’s public marketing, 1AC ¶¶ 8, which

allegedly used Internet websites, publications, advertisements, and third-party materials all

created and published before February 6, 2016, e.g., id. ¶¶ 84-85, 90-94, 107-111, 113-14, 121-

22, 126-28, 133, 160, 167-68, 173, 188-90, 194, 198-99, 202, 214, 219. And the State likewise

relies on public regulatory actions that predate February 6, 2016. E.g., id. ¶¶ 56, 58, 72, 117,

133, 141, 147-48, 152, 175-77, 183. Finally, nearly all of the specifically or generally alleged

misconduct by the Manufacturer Defendants was part of publicly filed complaints in high profile

cases against the industry before February 6, 2016. See, e.g., Second Amended Complaint

Redacted, City of Chicago v. Purdue et al., No. 14-cv-04361 (N.D. Ill. Nov. 5, 2015) ECF No.

395; Appendix A (detailed comparison of the 1AC and the Second Amended Complaint in the




                                               24
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 34 of 39. PageID #: 16257



City of Chicago). If other plaintiffs were in a position to assert claims before February 6, 2016,

the State could have done so too. Its claims are time-barred.

               3.      The “Continuing Tort” Doctrine Does Not Alter This Result

       The State’s effort to avoid the time bar by labeling the Manufacturer Defendants’ conduct

a “continuing tort” (1AC ¶¶ 341-42) misapprehends that doctrine. The Alabama Supreme Court

has explained that a “continuous tort” is “analogous to a continuing trespass in that the repeated

actions of the defendants combined to create a single cause of action in tort.” Moon, 435 So. 2d

at 220-21. Although damages for continuing trespass are considered a “single” cause of action

under Alabama procedure, they are still limited to those “occurring within the statutory period.”

Alabama Power Co. v. Gielle, 373 So. 2d 851, 854 (Ala. Civ. App. 1979). Thus, a “continuing

tort” does not negate the statute of limitations or revive lost claims. Rather, it simply permits

that, “[w]here multiple acts are involved, subsequent damages have been recognized as flowing

from subsequent acts, and the fact that a limitations period may have expired as to an earlier act

does not bar an action for the subsequent injury.” Spain v. Brown & Williamson Tobacco

Corp., 872 So. 2d 101, 114 (Ala. 2003) (plurality) (emphasis added). As a result, “[i]n Alabama,

a plaintiff may only recover damages for the portion of a continuous tort that occurred within the

statute of limitations that applies to the cause of action.” Radcliff v. Tate & Lyle Sucralose, Inc.,

No. 06-0345-CG-M, 2008 WL 3843446, at *8 (S.D. Ala. Aug. 14, 2008). In other words, at

most, the continuing tort doctrine means only that the State could assert claims for damages for

harm first occurring within the limitations period.

       B.      The State’s ADTPA Claim for Civil Penalties Is Time Barred

       The State’s ADTPA claim—its basis for civil penalties—is barred in its entirety by the

statute’s limitation period. Under the ADTPA, “[n]o action may be brought under this chapter

more than one year after the person bringing the action discovers or reasonably should have



                                                 25
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 35 of 39. PageID #: 16258



discovered the act or practice which is the subject of the action . . . .” Ala. Code § 8-19-14

(emphasis added).      As detailed above, the State knew or should have known of all the

specifically alleged conduct more than two years, not just one year, before filing this action.

Supra § VI.A.2; Appendix A; Holmes v. Behr Process Corp., No. 2:15-cv-0454-WMA, 2015

WL 7252662, at *2 (N.D. Ala. Nov. 17, 2015) (holding that period runs when plaintiff “knew of

facts that would have put a reasonable person on notice” of that conduct). The 1AC contains no

specific allegations of deceptive conduct occurring in Alabama after February 6, 2017.

Accordingly the ADTPA claim is time barred and should be dismissed.

                                        CONCLUSION

       For the foregoing reasons, the 1AC should be dismissed in its entirety.



Dated: June 29, 2018                        Respectfully submitted,

                                            By: /s/ Mark S. Cheffo
                                            Mark S. Cheffo
                                            Sheila L. Birnbaum
                                            Hayden A. Coleman
                                            DECHERT LLP
                                            Three Bryant Park
                                            1095 Avenue of the Americas
                                            New York, NY 10036
                                            Tel: (212) 698-3500
                                            Mark.Cheffo@dechert.com
                                            Sheila.Birnbaum@dechert.com
                                            Hayden.Coleman@dechert.com

                                            Attorneys for Defendants Purdue Pharma L.P.,
                                            Purdue Pharma Inc., and The Purdue Frederick
                                            Company

                                            By: /s/ Jonathan L. Stern (consent)
                                            Jonathan L. Stern
                                            Arnold & Porter Kaye Scholer LLP
                                            601 Massachusetts Ave. NW
                                            Washington, DC 20001




                                               26
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 36 of 39. PageID #: 16259



                                   Tel: (202) 942-5000
                                   jonathan.stern@arnoldporter.com

                                   Sean O. Morris
                                   Arnold & Porter Kaye Scholer LLP
                                   777 S. Figueroa St., Suite 4400
                                   Los Angeles, CA 90017
                                   Tel: (213) 243-4000
                                   sean.morris@arnoldporter.com

                                   Attorneys for Defendants Endo Health Solutions
                                   Inc. and Endo Pharmaceuticals Inc.

                                   By: /s/ Steven F. Napolitano (consent)
                                   Steven F. Napolitano
                                   Skarzynski Black
                                   One Battery Park Plaza 32nd Floor
                                   New York, New York 10004
                                   Tel: (212) 820-7746
                                   snapolitano@skarzynski.com
                                   Attorneys for Defendant Rhodes Pharmaceuticals
                                   L.P.




                                     27
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 37 of 39. PageID #: 16260



                           LOCAL RULE 7.1(F) CERTIFICATION

       I certify that this case has been assigned to the “litigation track” pursuant to CMO One

and that this Memorandum adheres to the page limitations set forth in CMO One § 6(f), CMO

Four at 2-3, and L.R. 7.1(f).


Dated: June 29, 2018                                   /s/ Mark S. Cheffo




                                              28
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 38 of 39. PageID #: 16261



                                   APPENDIX A:
 Alabama’s Allegations of Manufacturer Misrepresentations in Chicago’s 2015 Complaint

2018 Ala   2015 Chi                           2018 Ala   2015 Chi
¶ 79       ¶ 153                              ¶ 133      ¶ N/A
¶ 83       ¶ 627-628                          ¶ 139      ¶ N/A
¶ 84       ¶¶ 225, 229(ee), 240(i), 596,      ¶ 142      ¶ 627
           598-599                            ¶ 143      ¶ N/A
¶ 85       ¶¶ 233, 238(d), 248(h), 575-576    ¶ 161      ¶ 397
¶ 86       ¶¶ 224, 229(jj), 230, 482(c),      ¶ 167      ¶¶ 229(k), 449
           552(c), 627, 630(a), 630(f),       ¶ 168      ¶ N/A
           630(h), 630(l), 692
                                              ¶ 169      ¶¶ 229(k), 449
¶ 87       ¶ 10
                                              ¶ 170      ¶ 229(l)
¶ 88       ¶¶ 238(e-g), 627
                                              ¶ 171a     ¶ N/A
¶ 89       ¶¶ 575, 630(g)
                                              ¶ 171b     ¶¶ 229(o), 469
¶ 90       ¶¶ 148, 238(f), 618
                                              ¶ 172      ¶¶ 229(n), 409
¶ 91       ¶¶ 238(e), 617
                                              ¶ 173      ¶ 252(g)
¶ 92a      ¶¶ 239, 573, 599, 620
                                              ¶ 174      ¶ 230
¶ 92b      ¶¶ 240(f), 573
                                              ¶ 186      ¶ 230
¶ 93       ¶¶ 240(g), 578
                                              ¶ 188      ¶¶ 229(j), 404, 406, 408
¶ 94       ¶ 240(h)
                                              ¶ 189a     ¶ N/A
¶ 95       ¶ 229(dd)
                                              ¶ 189b     ¶ 404
¶ 97       ¶ N/A
                                              ¶ 190      ¶ 406
¶ 107      ¶ 165
                                              ¶ 193      ¶¶ 252(f), 418
¶ 108      ¶ 166
                                              ¶ 194      ¶ 419
¶ 109      ¶ 167
                                              ¶ 195      ¶ 412
¶ 111      ¶ N/A
                                              ¶ 196      ¶¶ 221(k), 413
¶ 113      ¶¶ 221(t), 221(s), 570
                                              ¶ 197      ¶ 414
¶ 114      ¶ 221(w)
                                              ¶ 198      ¶ 416
¶ 119      ¶¶ 249-250
                                              ¶ 211      ¶¶ 221(j), 229(m), 244(b), 445
¶ 120      ¶¶ 213, 249
                                              ¶ 214      ¶ 448
¶ 121      ¶¶ 248(j), 252(n), 606
                                              ¶ 215      ¶¶ 229(k), 449
¶ 122      ¶¶ 248(k), 252(o), 621
                                              ¶ 218      ¶ 464
¶ 125      ¶ N/A
                                              ¶ 219      ¶ 466
¶ 126      ¶ 248(h)
                                              ¶ 222      ¶¶ 229(o), 469
¶ 127      ¶¶ 248(i), 600
                                              ¶ 223      ¶¶ 248(f), 470
¶ 128      ¶¶ 248(k), 252(o), 621
                                              ¶ 225      ¶¶ 149, 240(c), 473
¶ 131      ¶¶ 216, 256, 558, 563, 564, 567,
           627, 742(h)                        ¶ 227      ¶ 475
Case: 1:17-md-02804-DAP Doc #: 690-1 Filed: 06/29/18 39 of 39. PageID #: 16262



                                CERTIFICATE OF SERVICE

       I hereby certify that on June 29, 2018, a copy of the foregoing Memorandum of Law in

Support of the Manufacturer Defendants’ Joint Motion to Dismiss the State of Alabama’s

First Amended Complaint was filed electronically. Notice of this filing will be sent to all

parties by operation of the Court’s electronic filing system. Parties may access this filing through

the Court’s system.


                                                          /s/ Mark S. Cheffo




                                                29
